Case 8:13-cv-03007-JSM-TBM Document 131 Filed 05/18/18 Page 1 of 2 PageID 1662
               Case: 16-11767 Date Filed: 05/18/2018 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

 David J. Smith                                                                      For rules and forms visit
 Clerk of Court                                                                      www.ca11.uscourts.gov


                                           May 18, 2018

 Elizabeth Warren
 U.S. District Court
 801 N FLORIDA AVE
 TAMPA, FL 33602-3849

 Appeal Number: 16-11767-JJ
 Case Style: Malibu Media, LLC v. Roberto Roldan
 District Court Docket No: 8:13-cv-03007-JSM-TBM

 A copy of this letter, and the judgment form if noted above, but not a copy of the court's
 decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
 was previously forwarded to counsel and pro se parties on the date it was issued.

 The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
 was previously provided on the date of issuance.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Lois Tunstall
 Phone #: (404) 335-6191

 Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
Case 8:13-cv-03007-JSM-TBM Document 131 Filed 05/18/18 Page 2 of 2 PageID 1663
               Case: 16-11767 Date Filed: 05/18/2018 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                                 For the Eleventh Circuit
                                     ______________

                                           No. 16-11767
                                          ______________

                                     District Court Docket No.
                                     8:13-cv-03007-JSM-TBM

 MALIBU MEDIA, LLC,

                                                    Plaintiff - Counter Defendant - Appellee,

 versus

 ROBERTO ROLDAN,

                                                    Defendant - Counter Claimant - Appellant,

 ANGEL ROLDAN,

                                               Defendant.
                        __________________________________________

                        Appeal from the United States District Court for the
                                    Middle District of Florida
                        __________________________________________

                                            JUDGMENT

 It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
 entered as the judgment of this Court.

                                     Entered: April 17, 2018
                         For the Court: DAVID J. SMITH, Clerk of Court
                                        By: Djuanna Clark




 ISSUED AS MANDATE 05/18/2018
